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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN


JESSICA TISCHER, individually and as personal
representative of JACOB TISCHER,

                     Plaintiff,

       v.                                                      Case No. 19-cv-166-jdp

UNION PACIFIC RAILROAD COMPANY,

                     Defendant and
                     Third-Party Plaintiff,

       v.

PROFESSIONAL TRANSPORTATION INC.,

                     Third-Party Defendant.


                             JUDGMENT IN A CIVIL CASE



       IT IS ORDERED AND ADJUDGED that judgment is entered in favor of defendant

Union Pacific Railroad Company against plaintiff Jessica Tischer dismissing plaintiff’s

complaint.

       IT IS FURTHER ORDERED AND ADJUDGED that judgment is entered in favor

of third-party defendant Professional Transportation Inc. against third-party plaintiff

Union Pacific Railroad Company dismissing Union Pacific’s third-party complaint.




      ______________________________________
            s/ A. Wiseman, Deputy Clerk                  _______________________
                                                                9/30/2020
          Peter Oppeneer, Clerk of Court                           Date
